                                                                               Case 3:07-cv-05944-JST Document 2307 Filed 01/08/14 Page 1 of 3




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                                                                          6                     IN THE UNITED STATES DISTRICT COURT
                                                                          7                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                                  ) Case No. C 07-5944 SC
                                                                          9   In re: CATHODE RAY TUBE (CRT)       )
                                                                              ANTITRUST LITIGATION                ) MDL No. 1917
                                                                         10                                       )
                               For the Northern District of California
United States District Court




                                                                              This Document Relates to:           ) ORDER RE: SUPPLEMENTAL BRIEFING
                                                                         11                                       )
                                                                              Tech Data Corp. v. Hitachi,         )
                                                                         12   Ltd., No. 13-cv-00157               )
                                                                                                                  )
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                                                                         17        The Defendants' joint motion to dismiss, ECF No. 1992 ("MTD"),
                                                                         18   raises the issue of whether Tech Data's Florida complaint tolls a
                                                                         19   statute of limitations for Tech Data.       The Court has not determined
                                                                         20   whether this is so, partly because the parties' opposition and
                                                                         21   reply briefs on the matter do not fully explain their positions.
                                                                         22   See ECF Nos. 2197 ("Tech Data Opp'n"), 2231 ("Reply").             The Court
                                                                         23   recognizes that this dispute may not be dispositive, given the
                                                                         24   parties' contentions regarding whether that particular complaint
                                                                         25   could toll any claim in this case, but the Court cannot make a
                                                                         26   fully reasoned holding on this point without more clarity from the
                                                                         27   parties.
                                                                         28        Specifically, Tech Data's opposition brief refers to a Florida
                                                                                  Case 3:07-cv-05944-JST Document 2307 Filed 01/08/14 Page 2 of 3




                                                                          1   complaint filed in 2007 in support of its tolling argument, but the
                                                                          2   complaint they cite and include in their declaration is stamped
                                                                          3   2011.     See Opp'n at 8 (citing ECF No. 2198 ("Wagner Decl.") Ex.
                                                                          4   9). 1   Obviously, these dates would provide vastly different tolling
                                                                          5   calculations if the Court were to find them relevant at all.
                                                                          6   Further, Defendants' reply brief suggests in a footnote that "even
                                                                          7   if Tech Data did benefit from tolling based on the State of
                                                                          8   Florida's complaint, it would have tolled the statute of
                                                                          9   limitations for only 367 days, which still renders Tech Data's
                                                                         10   [Florida Deceptive and Unfair Trade Practices ("FDUTPA")] claim
                               For the Northern District of California
United States District Court




                                                                         11   untimely."      Reply at 12 n.11.     The reply does not directly explain
                                                                         12   how Defendants calculated this number: for example, it is important
                                                                         13   for such a calculation to note the relevant complaint's filing
                                                                         14   date, as well as the date tolling would end based on that complaint
                                                                         15   (e.g., dismissal based on a stipulation, and whether the dismissal
                                                                         16   should be calculated as of the Special Master's or the Court's
                                                                         17   approval).      Defendants cite, apparently by analogy, a different
                                                                         18   section of the reply brief that concerns different parties and
                                                                         19   different complaints.
                                                                         20           Based on what the parties have presented on this issue, the
                                                                         21   Court can make no decision on this aspect of the parties' dispute.
                                                                         22   The result may or may not be relevant, but the Court ORDERS
                                                                         23   Defendants and Tech Data to submit supplemental briefing on this
                                                                         24   matter, clarifying the issues above (and any secondary issues that
                                                                         25   may necessarily arise from those clarifications).
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                                                                                Tech Data also cites Florida Statutes section 501.07(1)(c) in
                                                                         27   this part of their brief, but that section was repealed. The Court
                                                                              assumes that Tech Data meant to cite Section 501.207(1)(c), but if
                                                                         28   that assumption is wrong, Tech Data should cite the correct
                                                                              statute.


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                                                                          1        Tech Data is to file a supplemental brief clarifying their
                                                                          2   position and identifying the operative Florida complaint within ten
                                                                          3   (10) days of this Order's signature date.        Defendants are to
                                                                          4   respond within seven (7) days of Tech Data's supplemental brief.
                                                                          5   The parties' briefs are limited to five (5) pages.
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                                                                          7        IT IS SO ORDERED.
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                                                                          9        Dated: January 8, 2014
                                                                         10                                            UNITED STATES DISTRICT JUDGE
                               For the Northern District of California
United States District Court




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